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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8
        MICHAEL CHAVEZ,
 9                                                          No.
                                Plaintiff,
10                                                          COMPLAINT FOR DAMAGES
        v.
11                                                          JURY TRIAL REQUESTED
        AMAZON.COM, a Delaware Corporation,
12
                               Defendant.
13

14           Plaintiff Michael Chavez, through his undersigned attorneys of record, brings this action

15   against Defendant Amazon.com, Inc. (“Amazon”) for damages as follows.

16                                I.         JURISDICTION AND VENUE

17           1.1    This Complaint asserts claims of discrimination and retaliation based on the

18   Americans with Disabilities Act (“ADA”) 42. U.S.C. § 12101-02, and Jurisdiction is conferred

19   on this court by 28 U.S.C. § 1331.

20           1.2    This Complaint also asserts state law claims for discrimination and retaliation in

21   violation of RCW Chapter 49.60, as well as state law claims of wrongful termination in violation

22   of public policy over which this Court has supplemental jurisdiction pursuant to 28 U.S.C. §

23   1367.

24
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 1          1.3      Venue is appropriate in this District pursuant to 28 U.S.C. § 1391 where

 2   Defendant does business and where the unlawful acts or omissions giving rise to this claim

 3   occurred.

 4                                           II.     PARTIES

 5           2.1     Plaintiff Michael Chavez resides in King County, Washington and performed his

 6   work for Defendant in Seattle, King County, Washington.

 7           2.2     At all times relevant to this action, Defendant Amazon.com, Inc. (“Amazon”) was

 8   a Delaware corporation, with its principal place of business in Seattle, Washington. Defendant

 9   Amazon does business throughout the United States, including the State of Washington where

10   Plaintiff worked.

11

12                                   III.   STATEMENT OF FACTS

13           3.1     Defendant Amazon is a multinational technology company based in Seattle,

14   Washington, that focuses on e-commerce, cloud computing, digital streaming, and artificial

15   intelligence.

16           3.2     Defendant Amazon employs over one million employees.

17           3.3     Mr. Chavez began working for Amazon on September 5, 2017. Mr. Chavez was

18   hired as a “Business Analyst 5.” He worked forty hours per week on a Monday through Friday

19   schedule. Typically, Mr. Chavez worked in the Amazon offices located at 1915 Terry Ave

20   Seattle, WA 98101. There were nine co-workers assigned to his team. He was the sole Business

21   Analyst for his team. Many of his co-workers were permitted to work remotely in the alternative

22   to working onsite.

23           3.4     Between his hire date and April 2018, Mr. Chavez suffered from a decline in

24   health due to an increase in epileptic episodes (seizures). Mr. Chavez was told by his physician
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 1   they were stress induced. Per physician-instruction, Mr. Chavez applied for a Medical Leave of

 2   Absence with Amazon in April 2018 and was approved by Amazon for six months of medical

 3   leave due to his declining health.

 4            3.5 Mr. Chavez’s leave was extended until February 19, 2019 on account of his health

 5   condition. Amazon approved this extension.

 6            3.6 On the second week of his return to work, about March 5, 2019, Mr. Chavez’s

 7   manager, Samir Kopal, scheduled a one-on-one meeting with him to discuss his transition back

 8   to full-time work. During the meeting, Mr. Kopal told Mr. Chavez that he would be given an

 9   opportunity to transition slowly back into working so that he could be successful.

10            3.7 Upon returning to work, Mr. Chavez emailed Amazon’s Human Resources

11   department to request a reasonable accommodation in the form of a flexible schedule for the

12   times Mr. Chavez were to endure an epileptic event. Mr. Chavez requested that he be able to

13   work from home one to two days per week, if necessary during those times. Mr. Chavez

14   received instructions on how to file a reasonable accommodation request in accordance with the

15   ADA and Amazon’s internal policy and did so, including submitting a letter signed by his

16   doctor stating that his request was medically necessary. Mr. Chavez’s submission was

17   completed on about March 4, 2019.

18            3.8 Mr. Chavez’s request was not approved. Instead, on April 30, 2019, Amazon

19   approved an accommodation of two days of remote work per month, which did not address Mr.

20   Chavez’s condition adequately.

21            3.9 In the timeframe Mr. Chavez’s request for an accommodation was pending, on

22   April 2, 2019, Mr. Kopal scheduled a second one-on-one meeting with Mr. Chavez. In this

23   meeting, Mr. Chavez told him that he was interested in becoming an engineer at Amazon. Mr.

24   Kopal responded by laughing. Mr. Kopal then told Mr. Chavez should "take [his] Amazon
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 1   badge and go join a startup." Mr. Kopal then told him how he is too slow in completing tasks

 2   and not performing at his job's required performance level. Mr. Kopal also told Mr. Chavez that

 3   he should “take a look at the age of the engineers on your [Mr. Chavez] team,” noting that they

 4   were significantly younger than he and that he would be unable to compete with them, due to

 5   their age advantage.

 6           3.10 Prior to taking medical leave, Mr. Chavez never had a negative performance

 7   review. After returning from medical leave, Mr. Kopal consistently told Mr. Chavez that his

 8   work was inadequate and threatened to put him on a Performance Improvement Plan (PIP),

 9   which he never did. Even upon return, Mr. Chavez’s work product was never criticized by

10   others, he timely completed assignments, and interacted well with his team. Simply put, he was

11   always a productive member of Mr. Kopal’s team.

12           3.11 On April 10, 2019, Mr. Kopal surprised Mr. Chavez by telling him to follow him

13   to a conference room for an unscheduled meeting. It was then that Mr. Kopal refused to approve

14   reasonable accommodations Mr. Chavez’s physician had previously instructed, as described

15   above. Mr. Kopal then suggested that Mr. Chavez quit in the next three weeks. He told Mr.

16   Chavez he wanted to be able to seek approval from Philip Fitzsimmons to find his replacement.

17   Mr. Kopal then announced that Mr. Chavez’s accommodations request could not be approved,

18   because it would “hurt the business” and that an alternative accommodation of two remote days

19   per month would be acceptable.

20           3.12 On April 11, 2019, Mr. Kopal scheduled another one-on-one meeting to discuss

21   Mr. Chavez’s compensation. He told Mr. Chavez that he would not be receiving any changes to

22   his compensation due to his lack of performance. As of April 11, 2019, given that Mr. Chavez

23   had still never received a negative performance review from Amazon (or any other employer),

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 1   he was shocked by Mr. Kopal’s position. In response, he asked Mr. Kopal how he could

 2   improve and keep his job. Mr. Kopal’s only response was to suggest Mr. Chavez leave Amazon.

 3           3.13 On April 28, 2019, Mr. Chavez sent Mr. Kopal a text message informing him he

 4   had another seizure earlier in the day and would not be in the office the next day (April 29,

 5   2019). Mr. Kopal did not respond.

 6           3.14 On April 29, 2019, despite Mr. Chavez’s prior request for a day off to recover, out

 7   of concern Mr. Kopal would retaliate, Mr. Chavez worked four hours from his home. He thus

 8   entered four hours of sick time instead of eight hours, having worked a half day. When Mr.

 9   Chavez returned to the office on April 30, 2019, Mr. Kopal aggressively told him to adjust his

10   sick time to eight hours in spite of Mr. Chavez explaining that he had worked a partial day on

11   April 29, 2019. Due to Mr. Kopal’s level of hostility, and out of concern for his job security,

12   Mr. Chavez adjusted his time to reflect eight hours of sick leave. On April 30, 2019, Heidi

13   Kucera Taylor, an Amazon Human Resources representative, told Mr. Chavez that Mr. Kopal’s

14   instructions were wrong and that Mr. Chavez should get credit for the four hours of time he

15   worked on April 29, 2019.

16           3.15 On May 2, 2019, Mr. Kopal scheduled another one-on-one meeting with Mr.

17   Chavez. In this meeting, Mr. Kopal again told Mr. Chavez he was underperforming without an

18   explanation as to how he was underperforming. Mr. Chavez still had yet to receive a negative

19   performance review from Amazon. During this meeting, Mr. Kopal yet again insisted he leave

20   Amazon. He repeatedly asked Mr. Chavez if he was going to quit. Mr. Chavez told him no. Mr.

21   Kopal then responded by telling him that he is going to "talk to HR and you [Mr. Chavez] will

22   hear your options soon."

23           3.16 Due to the increase of seizures associated with extreme levels of stress and

24   depression Mr. Chavez was experiencing as a result of Mr. Kopal’s unwillingness to
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 1   accommodate his disability and Mr. Kopal’s overarching hostility towards him, Mr. Chavez

 2   submitted an email to his HR representative, Jennifer Zumek, informing her of his intent to

 3   resign. She did not respond.

 4          3.17   Aside from the one-on-one meetings discussed above, Mr. Kopal became, on a

 5   continual basis, very aggressive as a manager towards Mr. Chavez. He berated Mr. Chavez in

 6   front of his co-workers on a regular basis. Mr. Kopal’s continual, vague threats to Mr. Chavez

 7   exacerbated his stress levels and worsened his seizures. Mr. Kopal’s refusal to even discuss the

 8   reasonable accommodation proposed by Mr. Chavez’s physician further aggravated Mr.

 9   Chavez’s health condition.

10          3.18   Mr. Chavez had no intention to leave Amazon. He was previously committed to

11   growing his career with this employer. Prior to leaving, he, on numerous occasions, attempted to

12   involve Amazon’s Human Resources hoping to better his work environment, manage his

13   seizures, and lower his stress levels. Mr. Chavez’s request to work at home up to two days per

14   week (supported by a physician’s note) was denied by Amazon. His attempts to engage in

15   discussions related to obtaining a reasonable workplace accommodation were ignored by

16   Amazon. No meaningful reason was provided as to why Amazon could not grant Mr. Chavez’s

17   request to work two days a week at home. Ironically, Mr. Chavez observed other employees

18   including team members working from home regularly.

19          3.19   Mr. Chavez also asked Amazon Human Resources for assistance in his dealings

20   with his manager, Mr. Kopal. Mr. Chavez’s relationship with Mr. Kopal rapidly deteriorated

21   when he returned from medical leave and proposed a reasonable accommodation. Mr. Chavez

22   was hopeful Human Resources would intercede. Amazon refused to intervene and did not protect

23   Mr. Chavez from Mr. Kopal’s harassing and demeaning treatment.

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 1          3.20    In all, Amazon did nothing to meaningfully respond to—much less provide

 2   reasonable accommodation for—Mr. Chavez’s disability. Amazon also failed to protect Mr.

 3   Chavez from the harassment he faced from Mr. Kopal.

 4                            IV.    FEDERAL CAUSES OF ACTION FOR
                                    DISCRIMINATION AND RETALIATION
 5
             4.1    Amazon’s willful and unlawful conduct described herein discriminated against
 6
     Mr. Chavez based upon his disability in violation of federal law.
 7
             4.2    Mr. Chavez engaged in protected activity and Amazon retaliated against him for
 8
     such activities in violation of federal law.
 9
             4.3    Amazon’s actions constituted discrimination and retaliation against Mr. Chavez in
10
     violation of the Americans with Disabilities Act (“ADA”) 42 U.S.C. § 12101-02.
11
             4.4    Mr. Chavez filed a charge of discrimination with EEOC on November 19, 2019.
12
     The EEOC issued Mr. Chavez a “Right to Sue” Letter on October 5, 2020.
13
             4.5    Under the ADA, Mr. Chavez is entitled to recover actual and compensatory,
14
     economic and non-economic, special and general damages, liquidated damages, punitive
15
     damages, as well as attorneys’ fees and litigation expenses and an enhanced award to offset any
16
     negative tax consequences.
17
                                V.   SECOND CAUSE OF ACTION
18                          DISCRIMINATION AND RETALIATION – RCW 49.60

19           5.1    Amazon’s conduct described herein constitutes illegal discrimination against Mr.

20   Chavez based upon his disability in violation of Washington’s Law Against Discrimination,

21   RCW 49.60 et seq.

22           5.2    Amazon’s conduct described herein constitutes illegal retaliation against Mr.

23   Chavez in violation of Washington’s Law Against Discrimination, RCW 49.60.210.

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 1            5.3       Under Washington’s Law Against Discrimination, Mr. Chavez is entitled to

 2   recover all actual and compensatory, economic and non-economic, special and general damages,

 3   as well as attorneys’ fees and litigation expenses and an enhanced award to offset any negative

 4   tax consequences.

 5                          VI.  THIRD CAUSE OF ACTION
                    WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
 6
              6.1       Amazon owed Mr. Chavez duty not to discharge him if the discharge would
 7
     contravene a clear mandate of public policy.
 8
              6.2       A wrongful termination in violation of public policy occurs when an employer
 9
     terminates an employee as a result of his or her (1) refusal to commit an illegal act, (2)
10
     performance of a public duty or obligation, (3) exercise of a legal right or privilege, or (4) in
11
     retaliation for reporting employer misconduct.
12
              6.3       Mr. Chavez engaged in protected activity under Washington law when he
13
     requested reasonable accommodation.
14
              6.4       Mr. Kopal made the work conditions for Mr. Chavez so intolerable that any
15
     reasonable person in Mr. Chavez’s position would have felt compelled to resign.
16
              6.5       Amazon’s wrongful actions in violation of public policy were a proximate cause
17
     of damage to Mr. Chavez, including past wage loss and benefits, future wage loss and benefits,
18
     emotional distress, as well as attorneys’ fees and litigation expenses and other damages to be
19
     proven at trial.
20
                                   PRAYER FOR RELIEF AND JURY DEMAND
21
             Plaintiff, Michael Chavez, asks the Court for the following relief:
22
                 1. For judgment against Defendant Amazon for all actual and compensatory,
23
                        economic and non-economic, general and special damages as allowed by law;
24
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 1          2. For all punitive damages allowed by law;

 2          3. For all costs, expenses of litigation, interest, and reasonable attorneys’ fees as

 3              allowed by law;

 4          4. For trial by jury; and

 5          5. For such other relief as the court deems just and equitable.

 6       Dated this 4th day of January, 2021

 7                                             MIX SANDERS THOMPSON, PLLC

 8
                                               s/Michael G. Sanders
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